                Case 14-50333-gs         Doc 546    Entered 09/03/19 11:00:27          Page 1 of 1
NVB 8010−4 (Rev. 5/16)


                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA


 IN RE:                                                      BK−14−50333−gs
                                                             CHAPTER 7
 ANTHONY THOMAS and WENDI THOMAS

                                  Debtor(s)                  Appeal Reference Number:              19−27
                                                             BAP Number:                           NV−19−1184


 ANTHONY G. THOMAS                                           CERTIFICATE OF
                                  Appellant(s)               READINESS TO
                                                             BANKRUPTCY APPELLATE PANEL
 vs

 JERI COPPA KNUDSON, CH. 7 TRUSTEE;
                           Appellee(s)




To:         Bankruptcy Appellate Panel
            125 South Grand Avenue,
            Pasadena, CA 91105


The undersigned Deputy Clerk of the U.S. Bankruptcy Court certifies that the Statement of Issues, Designation of
Record, and transcripts have been filed, and the record on appeal is complete.



Dated: 9/3/19


                                                          Mary A. Schott
                                                          Clerk of Court
